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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



  JAMES HAYDEN,                                   )      CASE NO. 1:17CV2635
                                                  )
                          Plaintiff,              )      JUDGE CHRISTOPHER A. BOYKO
                                                  )
                  vs.                             )      ORDER
                                                  )
  2K GAMES, INC., et al.,                         )
                                                  )
                          Defendants.             )


  CHRISTOPHER A. BOYKO, J.:

           Upon consideration of the parties’ Trial Briefs and in preparation for the jury trial of

  this matter, the Court orders briefing on the election of damages as outlined in 17 U.S.C.

  § 504.

           On or before March 14, 2024 at 2:00 p.m. ET, the parties shall file cross-briefs of no

  more than five pages addressing the procedural format for the presentation of damages with

  supporting authorities in the context of Copyright Law. Specifically, what is the timing for

  the copyright owner to make the election between actual damages and profits (17 U.S.C.

  § 504(b)) and statutory damages (17 U.S.C. § 504(c))? Further, what determinations are for

  the jury on evidence adduced at trial and what determinations are for the Court on evidence
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  and arguments outside the presence of the jury?



         IT IS SO ORDERED.

         DATE: March 8, 2024


                                      s/Christopher A. Boyko
                                      CHRISTOPHER A. BOYKO
                                      United States District Judge




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